Case 3:17-cv-01539-JLS-WVG Document 45 Filed 09/03/19 PageID.527 Page 1 of 2



 1   TROUTMAN SANDERS LLP
     Charanjit Brahma, Bar No. 204771
 2   charanjit.brahma@troutman.com
     580 California Street, Suite 1100
 3   San Francisco, CA 94104
     Telephone: 415-477-5700
 4
     TROUTMAN SANDERS LLP
 5   Justin S. Nahama, Bar No. 281087
     justin.nahama@troutman.com
 6   Christopher Franich, Bar No. 285720
     chris.franich@troutman.com
 7   11682 El Camino Real, Ste. 400
     San Diego, CA 92130
 8   Telephone: 858.509.6074
 9   Attorneys for Plaintiff
     STRATEGIC OPERATIONS, INC.
10
11                              UNITED STATES DISTRICT COURT
12                            SOUTHERN DISTRICT OF CALIFORNIA
13
   STRATEGIC OPERATIONS, INC.,                     Case No. 3:17-CV-01539-JLS (NLS)
14 a California Corporation,
                                                   JOINT MOTION TO RESET
15                        Plaintiff,               HEARING DATE AND BRIEFING
                                                   SCHEDULE FOR DEFENDANTS’
16 v.                                              MOTION TO DISMISS SECOND
                                                   AMENDED COMPLAINT
17 BREA K. JOSEPH, an Individual;                  [DKTS. 28, 40, 41, 44]
   KASEY EROKHIN, an Individual;
18 KBZ FX, INC., a California
   Corporation; and DOES 1-10,
19 inclusive,
20                        Defendants.
21
22
23
24
25
26
27
28
                   JOINT MOTION TO RESET HEARING DATE FOR DEFENDANTS’ MOTION TO DISMISS
        39899709
Case 3:17-cv-01539-JLS-WVG Document 45 Filed 09/03/19 PageID.528 Page 2 of 2




 1              PLEASE TAKE NOTICE that pursuant to Civil Local Rule 7.2, Plaintiff
 2 Strategic Operations, Inc. (“StOps”) and Defendants Brea K. Joseph, Kasey Erokhin,
 3 and KBZ FX, Inc. hereby jointly move the Court for an order as follows:
 4       - That in light of the parties’ ongoing settlement discussions stemming from the
 5              parties’ ENE Conference held on August 5, 2019, in front of Magistrate Judge
 6              Gallo, and pursuant to the parties’ agreement, the hearing on Defendants’
 7              Motion to Dismiss Claims Against Individual Defendants Brea K. Joseph and
 8              Kasey Erokhin in Second Amended Complaint [Dkt. 28] (“Motion”) currently
 9              set for September 19, 2019, at 1:30 p.m. be rescheduled to October 3, 2019, at
10              the same time and location, or at a time convenient for the Court;
11       - That the deadline to file and serve any opposition to Defendants’ Motion be
12              accordingly reset to September 19, 2019; and
13       - That the deadline for Defendants to file and serve any reply in support of the
14              Motion be reset to September 26, 2019.
15 Based on the parties’ agreement, the parties respectfully request that the Court grant
16 their joint motion.
17 AGREED AS TO FORM AND CONTENT:
18    Dated: September 3, 2019                          TROUTMAN SANDERS LLP
19                                                      By: /s/ Charanjit Brahma
20                                                        Charanjit Brahma
                                                          Attorneys for Plaintiff
21                                                        STRATEGIC OPERATIONS, INC.
22    Dated: September 3, 3019                          SAN DIEGO IP LAW GROUP LLP
23                                                      By: /s/ Cody R. LeJeune
24                                                        Trevor Q. Coddington
                                                          Cody R. LeJeune
25                                                        Charles A. Blazer
26                                                        Attorneys for Defendants
                                                          BREA K. JOSEPH, KASEY
27                                                        EROKHIN, AND KBZ FX, INC.

28
                                                    1
                  JOINT MOTION TO RESET HEARING DATE FOR DEFENDANTS’ MOTION TO DISMISS


     39899709
